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                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
TENIA GOSHAY, PERSONAL
REPRESENTATIVE OF THE ESTATE
OF CORNELIUS FREDERICK,
DECEASED
              Plaintiff,
                                                       Case No.
v.                                                     Hon.

LAKESIDE FOR CHILDREN d/b/a
LAKESIDE ACADEMY; LAKESIDE ACADEMY;
SEQUEL YOUTH SERVICES OF
MICHIGAN, LLC; SEQUEL TSI
HOLDINGS, LLC; SEQUEL YOUTH
AND FAMILY SERVICES, LLC; SEQUEL ACADEMY
HOLDINGS, LLC; SEQUEL YOUTH SERVICES, LLC;
COLE HODGE (DEFENDANT #1); ZACHARY SOLIS
(DEFENDANT #2); MICHAEL MOSLEY (DEFENDANT #3);
ORLANDO LITTLE, JR. (DEFENDANT #4); COADY RIES
(DEFENDANT #5); MAURICE DAVIS (DEFENDANT #6);
JA’SHON CHEEKS (DEFENDANT #7); BRANDON REYNOLDS
(DEFENDANT #8); HEATHER MCLOGAN
(DEFENDANT #9); and BRADLEY HODGE (DEFENDANT #10).

                  Defendants.


GEOFFREY N. FIEGER (P30441)              JONATHAN R. MARKO (P72450)
FIEGER, FIEGER, KENNEY &                 MARKO LAW, PLLC
HARRINGTON P.C.                          Attorney for Plaintiff
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                  PLAINTIFF’S COMPLAINT AND JURY REQUEST

        NOW COMES Plaintiff, TENIA GOSHAY, Personal Representative of the

Estate of CORNELIUS FREDERICK, Deceased, by and through her attorneys,

Fieger, Fieger, Kenney & Harrington, P.C., and Marko Law, PLLC, and states in

support of her complaint as follows:

                                 INTRODUCTION

        Defendant Sequel, itself, and through the various named corporate entities,

owns and operates foster care service facilities for juveniles at various locations

throughout the United States, including the Western District of Michigan. Sequel’s

facilities are populated with children who are sent there by various state

governments, including Michigan, California, Oregon, and others. Sequel claims

that its facilities provide comprehensive services for children. Children are supposed

to be healed and safe at these facilities. In reality, Sequel’s facilities are snake-pits

where its staff members abuse and prey upon children; such as decedent orphan

Cornelius Frederick. This case involves a youth home/detention center, owned by

Defendant Sequel, and funded by the State of Michigan, where physical abuse of

children residents was blatant, rampant, and condoned.

        This is an action for money damages for clear violations of Cornelius’ well

settled Constitutional rights under the Eighth and/or Fourteenth Amendments to the

United States Constitution. As a result of Defendants’ deliberate indifference, willful


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wanton and malicious actions, Cornelius, age 16, was suffocated to death by eight

grown men after being thrown to the ground for the “crime” of throwing a sandwich

on the floor.1 All the perpetrators were employees of Defendants, operating under

color of state law, and were each carrying out the customs and condoned policies

and practices of their employer, Sequel, to abuse children by physically restraining

them by suffocation and asphyxiation.


                          JURISDICTION AND PARTIES

     1. Plaintiff brings this action pursuant to the Eighth and/or Fourteenth

Amendment and 42 U.S.C. § 1983. This Court therefore has original jurisdiction

pursuant to 28 U.S.C. §§ 1331 and 1343.

     2. Venue is proper under 28 U.S.C. §§ 1391(b)(1) and (2).

     3. All of the Defendants herein are State actors, carrying out the public function

of caring for orphans at the direction of the State of Michigan. Also, the State of

Michigan monetarily subsidizes their activities. Samantha Lee, former Chief

Compliance and Ethics Officer for Sequel Youth and Family Services, LLC., has

admitted that Sequel receives virtually all funds from Federal, Local, and State



1
 There is a video of the killing, which video is attached hereto and is incorporated
by reference, as part and parcel of this complaint:
https://link.edgepilot.com/s/545e9c4d/tR5LV53Fk0iVmgguGLIX7A?u=https://vi
meo.com/446914032

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governments, and that the guidelines of the state controls the running of Lakeside.

She also admits that at Lakeside’s discretion the children’s freedoms are totally

restricted and can be locked down.

    4. Plaintiff, Tenia Goshay, is the duly appointed personal representative of

Cornelius Frederick’s Estate, and is a resident of Wayne County, State of Michigan.

    5. Cornelius Frederick, now deceased, was a 16-year-old orphan who resided in

Kalamazoo, Michigan, under the exclusive care and custody of the Defendants as a

ward of the State of Michigan.

    6. Defendant Sequel Youth and Family Services, LLC is a Delaware corporation

whose headquarters is located in Huntsville, Alabama, and that owns and/or operates

and/or conducts business in the County of Kalamazoo, State of Michigan. To the

best of Plaintiff’s knowledge, this Defendant owns and controls all of the other

corporate Defendants, and that such other corporations are mere alter egos of this

Defendant (See Exhibit 1).

    7. Defendant Lakeside is a Michigan corporation that owns and/or operates

and/or conducts business in the County of Kalamazoo, State of Michigan.

    8. Defendant Lakeside Academy is a Michigan corporation that owns and/or

operates and/or conducts business in the County of Kalamazoo, State of Michigan.




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    9. Defendant Sequel Youth Services of Michigan, LLC is a Michigan

corporation that owns and/or operates and/or conducts business in the County of

Kalamazoo, State of Michigan.

    10.To the best of Plaintiff’s knowledge and understanding Defendant Sequel TSI

Holdings, LLC is an Iowa corporation that owns and/or operates and/or conducts

business in the County of Kalamazoo, State of Michigan.

    11. To the best of Plaintiff’s knowledge and understanding, Defendant Sequel

Academy Holdings, LLC is an Iowa corporation that owns and/or operates and/or

conducts business in the County of Kalamazoo, State of Michigan.

    12. To the best of Plaintiff’s knowledge and understanding, Defendant Sequel

Youth Services, LLC is an Iowa corporation that owns and/or operates and/or

conducts business in the County of Kalamazoo, State of Michigan.

    13. Defendant Cole Hodge (Defendant #1 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.


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    14. Defendant Zachary Solis (Defendant #2 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    15. Defendant Michael Mosley (Defendant #3 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    16. Defendant Orlando Little, Jr. (Defendant #4 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,


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and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    17. Defendant Coady Ries (Defendant #5 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    18. Defendant Maurice Davis (Defendant #6 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.


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    19. Defendant Ja’Shon Cheeks (Defendant #7 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    20. Defendant Brandon Reynolds (Defendant #8 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Further, said Defendant

participated in the unconstitutional use of excessive force by virtue of the

restraint/suffocation of Cornelius as described herein, and also failed to render much

needed medical care thereafter, or to intervene to stop the suffocation.

    21. Defendant Heather McLogan (Defendant #9 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,


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and was at all times operating under the color of state law. Said Defendant was a

nurse who observed the suffocation of Cornelius and thereafter took no action

whatsoever to render aid (such as initiating CPR), or to take such other measures to

protect Cornelius serious medical needs after he was rendered unconscious because

of suffocation.

    22. Defendant Bradley Hodge (Defendant #10 herein), to the best of Plaintiff’s

knowledge and understanding is a resident of the Western District, and was at all

times relevant hereto, an employee of the Defendants Lakeside Academy and Sequel

Youth Services of Michigan, LLC., and/or Sequel Youth and Family Services, LLC.,

and was at all times operating under the color of state law. Said Defendant was at all

times material hereto a supervisor at Lakeside Academy with policy making and

disciplinary authority in the institutional setting, acting in his official capacities, and

owed Cornelius a duty of protection while Cornelius was incarcerated at Sequel. He

was, at all times, present and/or observed the suffocation of Cornelius, and took no

action to stop it or to render care to the known and obvious serious medical

condition, and thereafter, took no disciplinary action against the known perpetrators,

and as such carried out the customs and policies and practices of his employer of

allowing suffocation.




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    23. The amount in controversy exceeds the jurisdictional minimum for this

Honorable Court, exclusive of interest, costs and attorney fees, and the matter is

otherwise within the jurisdiction of this Court.

                                       FACTS

    24. Plaintiff, by reference, incorporates the preceding paragraphs as though fully

 set forth herein.

    25. As a ward of the state, and because of being orphaned, Cornelius Fredericks,

 age 16, was housed by the State of Michigan at Defendant Lakeside Academy,

 which is located at 3921 Oakland Drive, Kalamazoo, MI 49008. Lakeside

 Academy’s function is that of a state actor, carrying out the public function of caring

 for orphans at the direction of the State of Michigan.

    26. Prior to July 2007 Defendant Lakeside Academy was known as “Lakeside

 for Children.”

    27. In July 2007, Lakeside for Children entered into an agreement with

 Defendant Sequel Youth and Family Services, and the Defendant’s facility was,

 thereafter, renamed Lakeside Academy.

    28. Defendants populated its facilities with children provided to them by various

 state and local governmental entities. The State of Michigan, through the taxpayers,

 monetarily subsidized the facility. The children, wards of the government, became




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 commodities in the Defendants scheme to maximize profits at the expense of the

 rights and welfare of children.

    29. There are two general categories of children that the State of Michigan, and

 other states send to Defendants: (1) children who are wards of the state and have no

 legal or natural guardian to take care of them (orphans); and (2) children who are

 ordered to be incarcerated in the Defendants’ facilities, as part of the juvenile justice

 system (e.g., a child violates probation or commits a crime and is sent to Sequel for

 “rehabilitation” or deterrence).

    30. Defendants charge for such care and are paid directly by state and local

 governments (taxpayers) for providing care and housing to the children, similar to

 a privatized prison or government subsidized hospital.

    31. Defendants’ income is derived solely and exclusively through governmental

 funds.

    32. One Sequel employee, Defendant Heather McLogan, has testified (under

 oath) that Sequel’s motto was “heads in beds,” meaning that Sequel, and as a

 custom, practice, and/or policy, pressured its facilities (and employees) to operate

 at or over maximum capacity so as to order maximize profits, regardless of the level

 of care provided to the children.

    33. Another employee has testified under oath that Sequel prioritized “cash over

 kids.”


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    34. The children at Defendants facilities are under 24 hours/7 days supervision,

 and their movements are restricted like a prison.

    35. The co-founder of Sequel, Chip Ripley, served as the Chief Operating Officer

 of Youth Services International (“YSI”), a corporation that, in the past operated and

 managed juvenile facilities and treated juvenile offenders.

    36. After serving in various corporate positions, in 1999, Ripley capitalized on

 the shift towards prison privatization by starting his own youth prison company

 (Sequel Youth and Family Services).

    37. Sequel followed the model Ripley had developed for YSI by purchasing

 existing youth facilities under a corporate umbrella, and then slashing expenses to

 maximize profits from state contracts. In effect, Ripley and Sequel operate and

 manage what amount to nothing more than state-contracted youth detention centers

 (the standard private equity model).

    38. Similar to a prison setting, the children are not free to leave the Defendants’

 facilities of their own volition, and their liberties are entirely restricted.

    39. The children at Lakeside Academy are housed in small rooms similar to jail

 cells, in units that can be completely locked down. Exhibit 2, Photos of Children’s

 Lockdown Units.

    40. The corporate Defendants enter into agreements with various state and local

 government to house children at Sequel facilities. As a general condition for a state


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 contract, the State of Michigan required that Sequel abide by certain conditions with

 regard to childcare. However, in fact, there was little or no regulation or compliance

 with any such contractual conditions.

    41. The corporate Defendants were required, by agreement, to comply with the

 government’s directions on staffing, management, restraint of residents, billing for

 services, and other conditions. However, again, there was little or no enforcement,

 regulation, or compliance by Sequel.

    42. The corporate Defendants had the ultimate say and control over how long a

 child was detained at the facilities.

    43. Cornelius Frederick was physically restrained scores of times by employees

 of the Defendants during the short period of time that he was housed at Defendants’

 facility. Physical restraint and suffocation was an accepted and condoned custom,

 policy and practice of Defendants. Many, if not all, of such restraints constituted

 abuse and violations of Cornelius’ constitutional right to be free from the use of

 excessive force, and to substantive due process of law.

    44. On January 4, 2020, Cornelius was restrained and suffocated by Defendants

 employees for over 35 minutes, to the point that he was unable to breathe and was

 rendered incapacitated. Such restraint by suffocation was a custom, policy, and

 practice of the Defendants, and was condoned by the Defendant corporations as a

 mechanism to subjugate children.


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    45. On January 20, 2020, Cornelius was again subjected to another suffocating

 restraint.

    46. On January 26, 2020, Oregon Senator Sara Gelser emailed the CEO of

 Sequel, Chris Roussos, and advised him that Lakeside Academy had inadequate

 training in crisis intervention. (Exhibit 3)

    47. Senator Gelser was so concerned about the systemic problems at Defendants’

 facilities regarding the use of the unconstitutional force and restraint practices, that

 she exercised her right to inspect various facilities across the country, including

 Lakeside Academy, that housed children sent to the Defendants by the State of

 Oregon and California.

    48. Senator Gelser met with the CEO of Sequel, Chris Roussos, two months

 before Cornelius’ death, and told him that “somebody was going to be seriously

 hurt or they would die” if Sequel did not change its unconstitutional restraint

 practices, which Senator Gelser had observed as a custom, policy, and practice at

 Sequel facilities.

    49. On April 29, 2020, the staff at Lakeside Academy again used improper

 restraint upon the body of Cornelius Fredericks, this time suffocating him to death.

    50. Even though Cornelius Fredericks screamed, “I can’t breathe!”, and urinated

 on himself during the killing, Defendant’s employees continued to suffocate him

 for a prolonged period of time. After he was unconscious, and while he lay


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 motionless on the floor, in a pool of urine, in evident and readily apparent need of

 medical attention, Defendants herein provided no aid or attention to his serious

 medical conditions.

    51. After suffering a cardiac arrest and resultant anoxic brain damage from the

 suffocation, Cornelius was later transported, unconscious, to Bronson Methodist

 Hospital in Kalamazoo and placed on life support.

    52. On May 1, 2020, 30 hours after the suffocation, Cornelius died at the Bronson

 Hospital in Kalamazoo.

    53. The use of unconstitutional force restraint practices by Defendants’ staff is

 not a novel occurrence. Rather, it is an accepted and approved custom, policy and

 practice.

    54. The Michigan Department of Health and Human Services has investigated a

 litany of complaints regarding Defendants’ employees who utilize excessive and

 unconstitutional force and abuse upon the children at Lakeside Academy.

    55. Since 2016, the Sequel Defendants have been cited on at least thirty occasions

 for violations that were investigated by the State of Michigan Department of Health

 and Human Services, including violations involving facility and premises

 maintenance, staff qualifications, discipline, behavior management, resident

 restraint, and sufficiency of staff.




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    56. Additionally, since 2016, the Sequel Defendants have been made aware,

 through employment discipline, of, at least eight employees who employed

 unconstitutional restraint upon children.

    57. Since 2016 corporate Defendant Sequel, et al., suspended and/or placed on

 administrative leave at least seven employees for improper use of restraints and/or

 failure to use proper de-escalation techniques, and/or improperly supervising the

 children.

    58. Within the six months prior to the death of Cornelius Fredericks, Defendant

 corporate entities acknowledged six separate incidents of violations pertaining to

 employees’ unconstitutional use of force and restraints. It is beyond question that

 the corporate Defendants, Sequel, et al., knew of the continued practice of the use

 of suffocation restraints upon children, and permitted such activity to continue

 unabated as a custom, policy, and practice.

    59. Lakeside Academy had its license to care for children revoked by the

 Michigan Department of Health and Human Services as a result of the

 unconstitutional suffocation restraint of Cornelius Fredericks. (Exhibit 4)

    60. Defendants, and each of them, were acting pursuant to a custom, practice,

 and policy of Sequel to permit suffocation killing, and were acting under color of

 state law at the time they suffocated and abused children, including Cornelius. See

 Monroe v Pape, 365 US 167; 81 S Ct 473; 5 L Ed 2d 492 (1961).


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    61. Defendants, and each of them, acted under the color of state law by fulfilling

 the public function of juvenile incarceration, detainment, commitment,

 rehabilitation, and/or acted in concert with state actors in denying Plaintiff his

 federally protected civil rights.

    62. The Defendants voluntarily assumed the duty of care for Cornelius

 Fredericks, which included, but was not limited to, the following:

            a. Exercise of reasonable and ordinary care for his safety and well-being;

            b. Providing trained and qualified employees, staff and/or agents to
               deliver safe and reasonable care for a child’s safety and basic needs;

            c. Hiring, training, retaining, and supervising employees, staff and/or
               agents to provide direct and indirect supervision of Cornelius
               Fredericks while he was in custody at Defendants’ facility, so as to
               protect him from harm;

            d. Assure that employees, staff and/or agents treated Cornelius Fredericks
               at all times with respect and dignity;

            e. Conduct full and complete investigations whenever complaints of
               abuse or neglect were brought to Defendants’ attention, and to take
               action to prevent abuse when first discovered; and

            f. Provide the standard and quality of care and services that Defendants
               promised they would provide as set forth agreement between Sequel
               and the State of Michigan, as part of the bargained for exchange.


    63. Defendants voluntarily assumed such duties, owed to Cornelius Fredericks,

while he resided at Lakeside Academy, and breached such duties.




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    64. Defendants had actual, constructive and/or ostensible knowledge of their

employees’ and/or staffs’ and/or agents’ regular mistreatment of Cornelius

Fredericks, and of mistreatment of other children at Lakeside Academy.

    65. As a direct and proximate result of acts committed by the corporate

Defendants, and their employees, as described herein. Plaintiff’s decedent suffered

the injuries and damages as described in this complaint.

                                COUNT I
                              MONELL CLAIM
                    AS TO THE CORPORATE DEFENDENTS


    66. Plaintiff hereby incorporate all other paragraphs of this Complaint as if fully

set forth herein.

    67. By suffocating Plaintiff’s decedent, Defendant corporations, and their

employees, and agents, and each of them, subjected Cornelius Frederick to a

depravation of clearly established, constitutionally protected rights and privileges

secured by the Constitution of the United States, including deprivations of his Eighth

and Fourteenth Amendment rights.

    68. The foregoing rights were clearly established at the time of the violations.

    69. The deprivations were, in part, permitted and caused by the customs, policies,

and established practices of Defendants, acting under color of their statutory and

legal authority, as provided to them by the State of Michigan and other governmental

agencies.

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    70. The Defendants involved in the fatal restraint and suffocation of Cornelius,

committed such constitutional violations, described herein, as a result of training

and/or lack of re-training by Defendants, and by virtue of a custom, practice and/or

policy of the corporate Defendants to permit such abuse, including restraint by

suffocation.

    71. The corporate Defendants employees and agents failed to properly train,

monitor, direct, discipline and supervise its staff, and knew or should have known

that its staff was engaging in the unconstitutional actions described herein, and did,

in fact, permit, tacitly and openly and/or otherwise, such unconstitutional abuses as

described herein.

    72. The aforementioned customs, policies, and practices of Defendants, and said

Defendants failure to properly and adequately train, monitor, instruct, direct,

discipline, and supervise its employees, was reckless, malicious, willful, and wanton

and was deliberately indifferent to the constitutional rights of the Plaintiff’s

decedent.

    73. The aforesaid improper training, monitoring, instruction, direction,

discipline, and supervision proximately caused the deprivation of Plaintiff’s

constitutional rights.




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    74. As a direct and proximate result of the unconstitutional acts and omissions of

Defendants as described, Plaintiff was killed and suffered the damages set forth in

this complaint.

                                    COUNT II
                  42 USC § 1983 INDVIDUAL VIOLATIONS OF THE
                  EIGHTH AND/OR FOURTEENTH AMENDMENTS


    75. Plaintiff realleges each preceding paragraph as fully set forth herein.

    76. The individual Defendants named in this count [Defendants #1-10] had a

clearly established constitutional duty to provide for Cornelius’ serious medical

needs, personal safety, and general welfare. They also had a duty to refrain from

engaging in excessive force, or of violating Cornelius’ substantive constitutional

rights.

    77. Although the Defendants named in this count were employed by a nominally

private entity, i.e., Sequel Youth and Family Services, et al., said Defendants acted

under color of state law because the Sequel Corporate Defendants, and each of them,

fulfilled the public function of juvenile incarceration, detainment, care of state ward

orphans, and commitment. Moreover, such individual Defendants acted in concert

with other state actors (the corporate Defendants) in denying Cornelius’ his

constitutional rights.

    78. By the actions described in this Complaint, Defendants #1 - #8, under color

of state law, acted with deliberate indifference to Cornelius’ personal safety and

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general welfare, and acted contrary to Cornelius’ constitutional rights by utilizing

excessive force, and by suffocating him to death. Such unconstitutional actions

deprived Cornelius of life and liberty interests, all in violation of the Constitution of

the United States.

    79. As to Defendant #9 Heather McLogan, she was a nurse employed by

Defendant Sequel, et al., who acted under of color of state law. She acted with

deliberate indifference to Cornelius’ serious medical needs, personal safety, and

general welfare, in violation of Cornelius’ Eighth and/or Fourteenth Amendment

constitutional rights, and she ignored his serious medical needs while he was being

suffocated, and, thereafter, she failed to provide care for his obvious and serious

medical needs while Cornelius was lying, motionless, not breathing, in a pool of

urine, after being suffocated. Defendant McLogan has admitted that she stood by,

after the suffocation, and did nothing (Exhibit 5).

    80. By the actions described above, Defendants #1-9, under the color of state law,

engaged in conduct that was so outrageous that it shocks the conscious, and

constitutes a violation of Cornelius’ Fourteenth Amendment substantive due process

constitutional rights.

    81. By the actions described above, Defendants #1-9, under color of state law,

acted with deliberate indifference to Cornelius’ serious medical needs, personal

safety, and general welfare.


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    82. In violation of Cornelius’ Eighth and/or Fourteenth Amendment

constitutional rights, by utilizing excessive force and/or failing to intervene to stop

the unconstitutional actions undertaken by all the other individually named

Defendants herein, despite having a realistic opportunity to do so, Defendants #1-9

acted either maliciously, and/or with reckless, willful and/or wanton disregard, or

with deliberate indifference towards Cornelius’ clearly established constitutional

rights which were being violated by the actions of all the other Defendants by virtue

of their suffocation of Cornelius and/or their failure to intervene to stop the

suffocation, and/or to render medical assistance for his serious medical needs.

    83. By the actions described above, Defendant #10, under color of state law, in

his capacity as a supervisor, had actual and constructive notice of the

unconstitutional conduct of the other individual Defendants (#1-9) as described

herein, and indeed, observed such conduct while it was happening, and did nothing

to stop it, or to aid his ward. He acted with deliberate indifference to the violations

of Cornelius constitutional rights. This Defendant supervisor, also, was required to

take remedial action after becoming aware of such constitutional violations and

failed to do so.

    84. As a result of these aforesaid constitutional violations, as described herein,

Cornelius endured pain and suffering, fright and shock, humiliation, and




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embarrassment, and all damages permitted by the Michigan Wrongful Death Act

and §1983.

    85. That the actions of Defendants, as specifically set forth above, were a

proximate cause of Cornelius Fredericks’ injuries and damages, including but not

limited to:

            a. Death;
            b. Severe hypoxic brain injury;
            c. Acute hypoxemic respiratory           failure   due    to
               cardiopulmonary arrest;
            d. Cardiogenic septic shock;

            e. Electrolyte imbalance;
            f. Metabolic acidosis;

            g. Conscious pain and suffering;
            h. Fright, shock, and terror;

            i. Humiliation and mortification;
            j. Mental anguish;

            k. Loss of love, society, and companionship;

            l. Reasonable medical, hospital, funeral, and burial expenses;

            m. Exemplary, compensatory, and punitive damages allowed under
               Michigan and federal law;

            n. Attorney fees and costs pursuant to 42 USC § 1988;




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            o. Any and all other damages otherwise recoverable under
               federal and Michigan Wrongful Death Act, including loss
               of earning capacity and loss of household services.

    86. The individual Defendants named in this complaint subjected Cornelius to

unconstitutional deprivations of his constitutional rights in such a manner so as to

render these Defendants liable for punitive damages as a matter of Federal Common

Law under Smith v. Wade, 461 US 30 (1983).

    87. Cornelius’ estate is also entitled to recover costs, including reasonable

attorney fees under 42 USC §1988.

    88. Cornelius’ estate is entitled to compensatory and punitive damages in an

amount exceeding Fifty-Million Dollars ($50,000,000.00).

    WHEREFORE, Plaintiff, TENIA GOSHAY, as Personal Representative of the

Estate of CORNELIUS FREDERICK respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, jointly and severally, in

an amount in excess of Fifty-Million Dollars $50,000,000.00), together with interest,

costs and attorney fees, as well as punitive and/or exemplary damages.

                                 Respectfully submitted,

Date: September 30, 2021         /s/: Geoffrey N. Fieger
                                 Geoffrey N. Fieger (P30441)
                                 Fieger, Fieger, Kenney & Harrington, P.C.
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                                                AND

                                  Jonathan R. Marko (P72450)
                                  MARKO LAW, PLLC
                                  Attorneys for Plaintiff
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                                  Detroit, MI 48226
                                  (313) 777-7529 / (313) 771-5785


                               PROOF OF SERVICE
             The undersigned hereby certifies that she served a copy of the
           foregoing upon all attorneys of record at their respective business
            addresses as disclosed by the pleadings of record herein on this
                             30th day of September, 2021.
                  __US Mail ___ Hand Delivered ___ UPS ___ Other
                  ___Email X ECF ___ Federal Express ___ Facsimile
                           Signature: /s/ Samantha M. Teal
                        Legal Assistant to Geoffrey N. Fieger




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                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
TENIA GOSHAY, PERSONAL
REPRESENTATIVE OF THE ESTATE
OF CORNELIUS FREDERICK,
DECEASED
              Plaintiff,
                                                    Case No.
v.                                                  Hon.

LAKESIDE FOR CHILDREN d/b/a
LAKESIDE ACADEMY; LAKESIDE ACADEMY;
SEQUEL YOUTH SERVICES OF
MICHIGAN, LLC; SEQUEL TSI
HOLDINGS, LLC; SEQUEL YOUTH
AND FAMILY SERVICES, LLC; SEQUEL ACADEMY
HOLDINGS, LLC; SEQUEL YOUTH SERVICES, LLC;
COLE HODGE (DEFENDANT #1); ZACHARY SOLIS
(DEFENDANT #2); MICHAEL MOSLEY (DEFENDANT #3);
ORLANDO LITTLE, JR. (DEFENDANT #4); COADY RIES
(DEFENDANT #5); MAURICE DAVIS (DEFENDANT #6);
JA’SHON CHEEKS (DEFENDANT #7); BRANDON REYNOLDS
(DEFENDANT #8); HEATHER MCLOGAN
(DEFENDANT #9); and BRADLEY HODGE (DEFENDANT #10).

                  Defendants.


GEOFFREY N. FIEGER (P30441)           JONATHAN R. MARKO (P72450)
FIEGER, FIEGER, KENNEY &              MARKO LAW, PLLC
HARRINGTON P.C.                       Attorney for Plaintiff
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                      DEMAND FOR TRIAL BY JURY

        NOW COMES Plaintiff, TENIA GOSHAY, as Personal Representative of

the Estate of CORNELIUS FREDERICK, deceased, by and through their attorneys,

FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and MARKO LAW

PLLC., hereby demands a trial by jury in the above-captioned matter.



                               Respectfully submitted,

Date: September 30, 2021       /s/: Geoffrey N. Fieger
                               Geoffrey N. Fieger (P30441)
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                               PROOF OF SERVICE
             The undersigned hereby certifies that she served a copy of the
           foregoing upon all attorneys of record at their respective business
            addresses as disclosed by the pleadings of record herein on this
                             30th day of September, 2021.
                  __US Mail ___ Hand Delivered ___ UPS ___ Other
                  ___Email X ECF ___ Federal Express ___ Facsimile
                           Signature: /s/ Samantha M. Teal
                        Legal Assistant to Geoffrey N. Fieger




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